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                     IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE WESTERN DISTRICT OF OKLAHOMA


IN RE:
                                                           Case No.: BK-19-10524
LADORIA SHAW,                                              Chapter 13

       DEBTOR.


       OBJECTION TO MOTION FOR CONTINUATION OF AUTOMATIC STAY

       Comes now the secured creditor, GEMINI CAPITAL MANAGERS, LLC, by their

attorneys, Baer & Timberlake, P.C., and hereby objects to the Motion for Continuation of

Automatic Stay filed by Debtor on February 21. 2019 (Doc 8). In support of this Objection,

GEMINI CAPITAL MANAGERS, LLC would show the Court as follows:

       1.      GEMINI CAPITAL MANAGERS, LLC is the holder of a note and mortgage on the

residence, ("mortgaged property") of Debtor. As set forth in Proof of Claim No. 7 filed in the prior

case of Debtor (18-12207), the note and mortgage had a total balance at that time of $152,376.50

plus accruing interest along with reasonable attorney fees and for all costs of the action. Debtor has

valued the subject property at $200,000.00.

       2.      The bankruptcy case now before the Court (19-10524) is the 2nd case filed in this

district in the past year. The prior case, 18-12207 (Ch. 13), was filed May 25, 2018 and dismissed

November 26, 2018, for non-feasibility. This is the eighth case filed by the debtor since October

2009 (09-16064 filed October 27, 2009 - dismissed February 24, 2010; 11-12433 filed May 5, 2011

- dismissed September 15, 2011; 12-10591 filed February 15, 2012 - dismissed on May 24, 2012;

13-13360 filed July 24, 2013 - dismissed October 9, 2013; 14-12957 filed July 16, 2014 - dismissed

2/23/2015; and 16-13791 filed September 21, 2016 - dismissed on July 11, 2017.)

       WHEREFORE, PREMISES CONSIDERED, secured creditor, GEMINI CAPITAL

MANAGERS, LLC, moves the Court to deny the Motion for Continuation of Automatic Stay filed
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by Debtors and/or to grant adequate protection or such other and further relief as may be entitled.



                                                   GEMINI CAPITAL MANAGERS, LLC,



                                      By:          s/ Matthew J. Hudspeth
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                                                   JIM TIMBERLAKE - #14945
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                                                   LLC
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                                CERTIFICATE OF SERVICE

       I hereby certify that I mailed a true and correct copy of the above and foregoing Objection
with postage thereon fully prepaid to the parties listed below on March 8, 2019.

Ladoria Shaw
17640 Lead Lane
Edmond, OK 73012

     The following persons should have received notice of the above and foregoing instrument
on the same day it was filed by the Court’s CM/ECF Electronic Noticing System.

John T. Hardeman
P.O. Box 1948
Oklahoma City, OK 73101

Joshua L. Farmer
Taylor C. Stein Attorney at Law PC
1101 SW C Ave
Lawton, OK 73501



                                     By:        s/ Matthew J. Hudspeth
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